                UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF TENNESSEE
                           AT GREENEVILLE


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )             NO. 2:04-CR-08
                                                )
JIMMY SCOTT AND                                 )
CLARA SCOTT                                     )
                                                )


                                      ORDER

      This criminal matter is before the Court to address the appeal filed by the

defendant, Clara Scott, as to certain portions of the order of the United States

Magistrate Judge. [Docs. 62 and 63]. The Court will address the defendant’s

appeal in the same order in which the issues were raised by the defendant.

      1. CLARA SCOTT’S MOTION FOR BILL OF PARTICULARS:

      The United States Magistrate Judge denied Mrs. Scott a bill of particulars in

part, but required the government to file a bill of particulars specifying the

regulations allegedly violated or potentially violated by the defendants. The

defendant believes this is insufficient, seeking a bill of particulars as to the “act or

acts and dates of those acts the government is required to prove to establish her

criminal conduct as an aider and abettor.”

      It is well established that a bill of particulars is not meant as a tool for the



Case 2:04-cr-00008-JRG       Document 78 Filed 02/03/05         Page 1 of 6    PageID #:
                                        185
defense to obtain detailed disclosure of all the evidence held by the government

before a trial, and a defendant is not entitled to discover all the overt acts that

might be proven at trial. United States v. Salisbury, 983 F. 2d 1369, 1375 (6th Cir.

1993). In this case, the indictment is very detailed, and the defendants have

received extensive discovery, all of which gives sufficient notice to this defendant

of the charges against her. Accordingly, the United States Magistrate Judge

appropriately denied the defendant’s motion for a bill of particulars.

    2. CLARA SCOTT’S MOTION FOR AGENTS, OFFICERS AND
EMPLOYEES TO PROVIDE THEIR FILES TO THE PROSECUTION
ATTORNEY:

      The defendant argues that, during the hearing on her motion, the United

States Magistrate Judge informed counsel that the provisions of the pretrial order

on discovery pertaining to the prosecutor’s obligations under Rule 16 had been

revised in this division. The defendant argues that, because the pretrial order on

discovery was not objected to by the government, the order becomes the law of this

case, and that the Magistrate Judge’s ruling on her motion was contrary to the law

of the case. This argument is ludicrous. Obviously, the order was entered by the

Court, and the Court has the discretion to change its own order. Nevertheless, the

United States Magistrate Judge granted the defendant’s motion in part, requiring

the government to affirmatively inquire of the federal agencies who investigated


                                            2


Case 2:04-cr-00008-JRG       Document 78 Filed 02/03/05         Page 2 of 6    PageID #:
                                        186
the defendants herein, determine if the agencies had relevant materials, obtain

those documents, and furnish copies to the defendants. The order does not go as

far as the defendant would like, in that it does not require the government to

inquire of and disclose materials in the custody of local, state or foreign

governments or non-government third parties. To the extent the order modified the

United States Magistrate Judge’s earlier pretrial order, such amendment is entirely

proper, and the ruling is not contrary to law.

      3. CLARA SCOTT’S MOTION FOR NOTICE PURSUANT TO RULE
12(b)(4)(B) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE:

      The United States Magistrate Judge ruled that the government should

comply with Rule 12(b)(4)(B) by advising the defendant of all the Rule 16

materials which it did not intend to use at trial. Given the nature of this case, this

means of disclosure seems entirely logical and fulfills the requirements of Rule

12(b)(4)(B).

      The defendant points out that the United States Magistrate Judge did not set

a date for the government to make its Rule 12(b)(4)(B) notice, and that the motion

deadline has already passed. Presumably, the government will act diligently in

making its notice. However, obviously, should the government not act diligently

in making this notice, the defendant may seek leave from the Court to file a motion

past the motion deadline.
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Case 2:04-cr-00008-JRG      Document 78 Filed 02/03/05        Page 3 of 6     PageID #:
                                       187
     4. CLARA SCOTT’S MOTION FOR PRETRIAL DISCLOSURE OF
ANY DOCUMENT THE GOVERNMENT INTENDS TO OFFER AS A
PUBLIC RECORD UNDER THE FEDERAL RULES OF EVIDENCE 901,
902 OR 1005:

      Defendant represents that the United States Magistrate Judge denied this

motion. This is a misrepresentation, as the Court acknowledged that the

government stipulated to providing such disclosure 30 days prior to trial.

Additionally, the Court ordered that the defendant make reciprocal disclosure by

the same date.

    5. CLARA SCOTT’S MOTION FOR A LIST OF GOVERNMENT
WITNESSES AND ADDRESSES:

      Once again the defendant misrepresents what was ordered by the United

States Magistrate Judge. The United States Magistrate Judge did indeed order that

a witness list be provided by all parties. Specifically, the parties were ordered to

“exchange a complete list of potential witnesses prior to the opening of court on

the first day of trial.” Apparently, the real objection to the Court’s order is to the

time frame for such disclosure. However, the time frame ordered by the United

States Magistrate Judge is reasonable and in keeping with the practices of this

Court. The requirement for the exchange of a witness list is completely within the

discretion of the Court, and this Court is of the opinion that the United States

Magistrate Judge acted reasonably within that discretion.


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Case 2:04-cr-00008-JRG       Document 78 Filed 02/03/05        Page 4 of 6    PageID #:
                                        188
    6. CLARA SCOTT’S MOTION FOR DISCLOSURE OF SPECIFIC
BRADY-KYLES EVIDENCE:

      As to Brady-Kyles evidence, the defendant adopts her argument discussed

hereinabove pertaining to agents, officers and employees providing their files to

the prosecution attorney. Again, what the defendant actually objects to is the time

frame ordered by the United States Magistrate Judge, who ordered that the

government disclose exculpatory material to the defendants not less than seven

days prior to the first day of trial. The time frame set forth by the United States

Magistrate Judge is entirely appropriate.

    7. CLARA SCOTT’S MOTION FOR NOTICE OF THE
GOVERNMENT’S INTENT TO USE OUT OF COURT DECLARATIONS
AND RULE 807 HEARSAY:

      The United States Magistrate Judge ordered that the “[t]here is no rule,

statute, or case of which this Court is aware that requires the government to

provide such notification to the defendant, and the defendant’s brief recites no

authority for the pretrial disclosure.” In her appeal, the defendant relies in general

upon the Rules of Criminal Procedure and Rules of Evidence, citing specifically to

Rule 2, 16 and 12 of the Federal Rules of Criminal Procedure and to Rules 102,

104, 402 and 403 of the Federal Rules of Evidence . The rules cited by the

defendant do not require such disclosure, nor does the defendant cite to any other

authority. Presumably, counsel’s diligent review of the discovery materials, and
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Case 2:04-cr-00008-JRG      Document 78 Filed 02/03/05        Page 5 of 6   PageID #:
                                       189
the witness list which will be provided, will provide sufficient materials with

which to anticipate the need for objections at trial.

      Accordingly, the order of the United States Magistrate Judge is

AFFIRMED.



      ENTER:

                                                     s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE




                                           6


Case 2:04-cr-00008-JRG      Document 78 Filed 02/03/05       Page 6 of 6   PageID #:
                                       190
